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U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83. 12 through 83.14.

 

In the Matter of Case Number: 08 C 622

Floyd Shepherd, Plaintiff
v.
Home Comings Financial GMAC

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
HOMECOMINGS FINANCIAL, LLC

 

NAME (Type or print)
Douglas R. Sargent

 

SIGNATURE (Use electronic signature if the appearance form is filed electronically)
S/ Douglas R. Sargent

 

FIRM
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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) TELEPHONE NUMBER

 

 

 

 

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ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? YES|:| NO
ARE YOU ACTING AS LOCAL CQUNSEL IN THIS CASE? YES |:| NO-
ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? YES[:| NO-

 

IF THIS CASE REACHES TR_IAL, WILL YOU ACT AS THE TRIAL ATTORNEY? YESE NO-

 

 

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL |:] APPOINTED COUNSEL l:|

 

 

